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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 2:21-cv-06629-CJC-GJS Date November 15, 2021

 

 

Title Jesus Corrales et al v. City of Lompoc et al

 

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR

LACK OF PROSECUTION

It is a plaintiff's responsibility to prosecute its case diligently. That includes timely
serving the complaint and filing a proof of service. Absent a showing of good cause, “[i]f a
defendant is not served within 90 days after the complaint is filed, the court . . . must dismiss
the action.” Fed. R. Civ. P. 4(m). Here, 90 days have passed since Plaintiff filed the
Complaint, yet no proof of service has been filed. Accordingly, the Court, on its own motion,
hereby ORDERS Plaintiff to show cause in writing no later than November 18, 2021 why this
action should not be dismissed for lack of prosecution. As an alternative to a written response
by Plaintiff, the Court will consider as an appropriate response to this OSC the filing of one of
the following on or before the above date:

1. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41), or

2. A Proof of Service indicating service of the Summons and Complaint was effected on or
before November 14, 2021. However, if the deadline to answer has passed by the
time Plaintiff files the proof of service, the response to this Order will be deemed
sufficient only if one of the following is also filed:

a. Plaintiff's Request for Entry of Default as to Defendants or Defendants’ Answers, or

b. A stipulation extending Defendants’ time to respond to the Complaint that complies
with Local Rule 8.3

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 2:21-cv-06629-CJC-GJS Date November 15, 2021

 

 

Title Jesus Corrales et al v. City of Lompoc et al

 

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a timely and appropriate response. Failure to respond
to this Order may result in dismissal.

 

Initials of Deputy Clerk rrp

 

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